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                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEAN A. MARKLEY and MICHAEL RESETAR         )
individually and on behalf of all others similarly
                                            )                       CIVIL ACTION NO. 01-4413
situated,                                   )
                              Plaintiffs,   )                       Class Action
               vs.                          )                       Judge Anita B. Brody
                                            )
RETIREMENT COMMITTEE OF ARMSTRONG )
WORLD INDUSTRIES, INC., et al.              )
                                            )
                                Defendants. )
                                            )
LORI SHEARER, individually and on           )
behalf of all others similarly situated     )                       CIVIL ACTION NO. 02-6029
                                Plaintiffs, )                       Class Action
                vs.                         )
                                            )                       Judge Anita B. Brody
RETIREMENT COMMITTEE OF ARMSTRONG )
WORLD INDUSTRIES, INC., et al.              )
                                            )
                                Defendants. )

                           VERIFIED STATEMENT OF RICHARD A. FINBERG
                                  RE MAILING OF CLASS NOTICE

                      I, Richard A. Finberg, make this verified statement, under penalty of perjury, as

follows:

           1.         I am lead Class Counsel in this case, and in that capacity, I supervised the giving

of Notice to the Class Members in these actions.

           2.         On April 29, 2003, I caused the Notice Of Proposed Class Action Settlement

(“Notice,” attached as Exhibit A) to be sent by first class mail to the 380 Class Members in these

cases, as listed on Exhibit 1 to Exhibit A.

           3.         Mailing addresses for Class Members were obtained from Defendant Retirement



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Committee of Armstrong World Industries, Inc. Where applicable, updated addresses were also

obtained from Ardex, Inc. and Armacell, LLC, where many of the Class Members have been

employed following the divestitures of their divisions from Armstrong.

           4.         By use of these procedures, only 30 Notices had been returned as undeliverable as of

May 22, 2003. Updated address searches were made for these 30 persons utilizing social security

numbers and a national data base available through LEXIS, and more recent addresses were found

for 24 of these Class Members. On May 22, 2003, the Notice package was re-mailed to such

persons at their new address.

           5.         The Notice was substantially in the form approved by the Court, as completed to

reflect the date and time of the Fairness Hearing and date for filing objections, and also, to update

the Notice to accurately reflect that the approval of the Delaware Bankruptcy Court had occurred on

March 31, 2003 (see, Notice p. 7).

           6.         In addition to the Notice, each Class Member was also sent an individualized

Supplemental Notice Of Dismissal Of Bankruptcy Individual Proofs Of Claim Relating To RSSOP.

This Supplemental Notice specifically identified any Individual Proof of Claim such Class Member

had filed in Armstrong’s bankruptcy proceedings. The Supplemental Notice instructed Class

Members who had not filed a relevant bankruptcy claim that “No action by you is necessary” (See

Exhibit B). Class Members who had filed a bankruptcy claim relating to the Retirement Savings and

Stock Ownership Plan (“RSSOP”) were told “This Proof of Claim relates to the RSSOP -- this claim

will be disallowed and extinguished by the Settlement Agreement. Please sign and return the

enclosed ‘Consent To Dismissal of Proof of Claim’ form.” (See Exhibit C). Class Members who

had also filed “Special Incentive Bonus Claims,” which are not affected by the Settlement, were told,


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in addition, that “You have also filed a claim for Special Incentive Bonus (Claim No. ____). This

Proof of Claim is not related to the RSSOP, and will be separately processed.” (See Exhibits D and

E). A Consent Form (Exhibit F) and self-addressed pre-paid return envelope was also enclosed for

persons who received the Consent Forms.

           7.         A total of 74 Class Members had filed individual proofs of claim in the bankruptcy

case and were sent consent forms. One of these person’s Notice package was returned as

undeliverable, and has been re-sent to an updated address. As of May 22, 2003, 42 of the Consent

Forms have been signed by the Class Members and have been returned. Class Counsel will make

a follow-up request to Class Members to obtain unreturned Consent Forms after June 6, 2003 (the

date by which Class Members were asked to return forms).

           8.         By the Consent Forms, Class Members formally agree to the dismissal of their

individual bankruptcy proofs of claim. However, the Settlement Agreement is structured so that all

Class Members automatically receive their Settlement benefits, and there is no penalty if the Class

Members fails to return the Consent Form.

           9.         To the best of my knowledge, information and belief, the above statements are true

and correct.

Dated: May 23, 2003                                             Richard A. Finberg
                                                                   Richard A. Finberg
                                                                   Pa. Id. No. 23097
                                                           MALAKOFF DOYLE & FINBERG, P.C.
                                                           Suite 200, The Frick Building
                                                           Pittsburgh, PA 15235
                                                           412.281.8400

                                                           Attorneys for Representative and Class
                                                           Plaintiffs



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                                                 CERTIFICATE OF SERVICE

                      I hereby certify that on the 23rd day of May 2003 true and exact copies of the

foregoing Verified Statement Of Richard A. Finberg Re Mailing Of Notice Of Proposed Class

Action Settlement were served via Federal Express, Postage Prepaid, addressed to:

                                 Kay Kyungsun Yu, Esquire
                                 Michael L. Banks, Esquire
                                 Morgan Lewis Bockius, LLP
                                 1701 Market Street
                                 Philadelphia, PA 19103-2921

                                            And

                                 Barry R. Elson, Esquire
                                 Patrick W. Kittredge, Esquire
                                 Christopher Brubaker, Esquire
                                 Kittredge, Donley, Elson Fullem & Embick, LLP
                                 421 Chestnut Street, Fifth Floor
                                 Philadelphia, PA 19106



                                                                  Richard A. Finberg




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                    EXHIBIT A
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DEAN A. MARKLEY and MICHAEL RESETAR         )
individually and on behalf of all others similarly
                                            )                CIVIL ACTION NO. 01-4413
situated,                                   )
                              Plaintiffs,   )                Class Action
               vs.                          )                Judge Anita B. Brody
                                            )
RETIREMENT COMMITTEE OF ARMSTRONG )
WORLD INDUSTRIES, INC., et al.              )
                                            )
                                Defendants. )
                                            )
LORI SHEARER, individually and on           )
behalf of all others similarly situated     )                CIVIL ACTION NO. 02-6029
                                Plaintiffs, )                Class Action
                vs.                         )
                                            )                Judge Anita B. Brody
RETIREMENT COMMITTEE OF ARMSTRONG )
WORLD INDUSTRIES, INC., et al.              )
                                            )
                                Defendants. )

                NOTICE OF PROPOSED CLASS ACTION SETTLEMENT

To:    All former participants in the Retirement Savings and Stock Ownership Plan
       (“RSSOP”) of Armstrong World Industries, Inc. (“AWI”) who were separated from
       AWI’s employment as a result of AWI’s sale or divestiture of (1) Armstrong Insulation
       Products (“AIP”) on or about May 31, 2000, or (2) its Installation Products Group
       (“IPG”) on or about July 31, 2000. (A list of Class Members is attached as Exhibit 1).

This Notice contains important information about your legal rights relating to
Armstrong's RSSOP. Please read this Notice carefully.

I.     Summary Of This Notice and Settlement Terms

        This Notice is given pursuant to Rule 23 of the Federal Rules of Civil Procedure to inform
you of a proposed settlement of claims asserted by certain persons formerly employed by Armstrong
World Industries, Inc. ("AWI") in the Armstrong Insulation Products (“AIP”) or Installation Products
Group (“IPG”). The action relates to the Retirement Savings and Stock Ownership Plan of
Armstrong World Industries, Inc. (the "RSSOP"), a pension plan in which the former employees
participated and through which they held shares of common stock of Armstrong Holdings, Inc.
(“AHI”), or prior to its restructuring in year 2000, AWI.
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         This Notice describes the lawsuits, and explains the terms of the proposed settlement, how
it affects your rights, and what steps you may take if you object to its terms. This Notice is only a
summary. The full statement of the settlement terms are set forth in the Settlement Agreement,
which controls over this Notice in the event of a conflict. All capitalized terms used in this Notice
have the same meaning as used in the Settlement Agreement.

        The proposed settlement must be approved by the United States District Court for the Eastern
District of Pennsylvania (the “Court”), where these lawsuits are pending, and by the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

      IMPORTANT – Notice of dismissal of certain related Bankruptcy Proofs of Claim

         As part of the Settlement Agreement, any Individual Proofs of Claim filed by Class
  Members in AWI’s Chapter 11 Case, and which are related to the RSSOP, will also be
  dismissed without any additional payment.

         The enclosed Supplemental Notice lists claims filed by you relating to the RSSOP
  which have been identified, and if any, a form entitled “Consent To Dismissal of Proof of
  Claim” and return envelope have also been enclosed. If a consent form is enclosed, it is
  important that you sign and return it to Class Counsel promptly, and no later than June
  6, 2003. If the information on the Supplemental Notice about your proofs of claim is not
  accurate, you must inform Class Counsel in writing by the same date, or you will be bound by
  it.


II.     Description of the Litigation

        Representative Plaintiffs are former employees of AWI who were separated from AWI’s
employment as a result of AWI’s sale of (1) Armstrong Insulation Products (“AIP”) on or about May
31, 2000, or (2) its Installation Products Group (“IPG”) on or about July 31, 2000. Plaintiffs Dean
Markley and Lori Shearer were employed in IPG, Plaintiff Michael Resetar was employed in AIP,
and all were participants in the RSSOP and a predecessor plan known as the Share in Success Plan
("SIS"). Markley and Resetar commenced Civil Action No. 01-4413 on August 29, 2001, and
Shearer commenced Civil Action No. 02-6029 on July 30, 2002. The Markley and Shearer lawsuits
(the “Civil Actions”) are virtually identical and have been consolidated by the Court.

        The Defendants in the Civil Actions are the Retirement Committee of Armstrong World
Industries, Inc. (the “Retirement Committee”); E. Allen Deaver, Frank A. Riddick, III, R. Scott
Webster, Robert J. Shannon, Jr., Larry A. Pulkrabek, George A. Lorch, Deborah K. Owen, E. Follin
Smith, Michael D. Lockhart, and Matthew J. Angello (collectively the “Individual Defendants”); the
RSSOP; Armstrong Holdings, Inc. (“AHI”), and Mellon Bank, N.A. (“Mellon”). AWI on December
6, 2000 filed for bankruptcy protection under Chapter 11 of the Bankruptcy Code, and is not a
defendant. However, Class Counsel have also filed an Amended Omnibus Proof of Claim on behalf
of Class Members (other than Zero-Share Class Members) in the bankruptcy proceedings. This
claim, as has or will be further amended by a Second Amended Class Proof of Claim (the “Class
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Proof of Claim”), is also being settled under the Settlement Agreement.

       Plaintiffs allege that the Retirement Committee, the Individual Defendants, and Mellon Bank,
N.A. ("Mellon") breached fiduciary duties owed Class Members under the Employee Retirement
Income Security Act, 29 U.S.C. § 1001 et seq. ("ERISA"). The lawsuits allege that AHI is liable as
a successor to AWI under AWI’s restructuring in the year 2000. Plaintiffs also allege, in their Proof
of Claim, that AWI is liable as a plan fiduciary and for failure to pay benefits when due.

        Class Members seek to recover losses they allege that they incurred in their RSSOP accounts,
which was invested almost exclusively in AHI (and formerly, AWI) stock. Plaintiffs allege that
when the SIS was merged with the Retirement Savings Plan in 1996 to form the RSSOP, Defendants
were required to maintain the "floor" value of the SIS shares (then in the form of preferred stock)
at $47.75 per share. Plaintiffs also allege that Defendants wrongly failed to diversify or permit
participants to diversify the RSSOP when investments in AWI’s common stock were allegedly no
longer prudent due to AWI’s setbacks and ongoing risks in asbestos-related litigation and when the
purposes of the RSSOP allegedly could no longer be achieved by such investments. Plaintiffs also
contend that Defendants wrongfully prevented Class Members from liquidating their RSSOP stock
upon their separation from employment.

         All Defendants vigorously dispute these allegations, deny any liability or wrongdoing, and
assert that all of their actions were in accordance with all duties and obligations under EISA, the SIS
and the RSSOP. In addition to asserting various defenses, Defendants have filed motions to dismiss
on the basis that the claims based on events that occurred in 1996 are barred by the applicable
statutes of limitation and asserting other legal arguments including that Plaintiffs failed to state a
legally cognizable claim. Furthermore, AWI contends that it was only the plan sponsor for the
RSSOP and as such has no liability to Class Members, and therefore, that all Class Member proofs
of claim must be disallowed. Finally, AWI’s insurer disputes coverage of these claims under AWI’s
insurance policy.

        Without admitting any wrongdoing, the parties have stipulated that this case be certified as
a Class Action, at least for purposes of this settlement, and the Court approved such stipulation on
February 28, 2003.

III.   Terms of the Proposed Settlement

        The Settlement Fund. Under the settlement, Defendants will create a total Settlement Fund
of One Million Four Hundred Sixty Five Thousand ($1,465,000), plus certain interest-equivalent on
a portion of this Fund, as described herein. Of this amount, AWI will pay $750,000 (the “AWI
Payment”), National Union Fire Insurance Co. of Pittsburgh, Pa., as fiduciary insurer for AWI and
the Individual Defendants, will pay $500,000 (the “Insurance Payment”), and Mellon will pay
$215,000 (the “Mellon Payment”). The Insurance Payment will be increased by the amount of
interest earned that would have accrued on the escrow account of its attorneys from the date the
Court approves the Stipulation and Settlement until the turnover of such funds. The Mellon Payment
will be increased by an amount equal to the interest that would have accrued on such funds at the
federal funds rate of 1.375% as of January 31, 2003 from that date through the date of turnover of
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such funds. No interest or interest-equivalent will be added to the AWI Payment.

        The AWI Payment will be paid under AWI's proposed plan of reorganization to satisfy the
Class Proof of Claim filed by Class Counsel. That Class Proof of Claim will be treated as a series
of Allowed Convenience Claims (each under $10,000 and in the aggregate amount of $1,000,000),
which will be paid at the rate of 75% under AWI’s proposed plan of reorganization (although the
terms of AWI’s Plan of Reorganization may otherwise be amended, the commitment for AWI to pay
exactly $750,000, if approved by the Bankruptcy Court, will not be altered). To facilitate the
settlement, the amounts claimed by Class Counsel on your behalf in the Class Proof of Claim is less
than the total loss which Class Counsel contends you would be otherwise entitled to received in the
absence of settlement, assuming you prevailed on those claims and funds were available to pay them.

        Distribution of the Settlement Fund, Attorneys Fees, and Other Deductions. Class
Counsel will request that the Court award attorneys fees for their professional services in recovering
the Settlement Fund in an amount not to exceed 28% of the Settlement Fund (i.e., up to $410,200),
that Class Counsel also be reimbursed their litigation costs and expenses not to exceed $25,000, and
that the Court award up to $5,000 each to the three representative plaintiffs as incentive awards for
their services, costs, risks, and time in bringing these actions. In addition, $400 will be set aside for
payments of $100 each to 4 Class Members who had no shares of AHI stock in their RSSOP
accounts (“Zero-Share Class Members”) (although the number of Zero-Share Class Members is not
expected to change, the same treatment would apply to all such persons).

        How is your share of the Settlement Fund determined? The balance of the Settlement
Fund remaining after the above deductions (the “Net RSSOP Fund”) is expected to be not less than
$1,015,000, assuming the maximum deductions for attorneys fees and other deductions described
above. This Net RSSOP Fund will be divided for the pro rata benefit of all Class Members other
than the Zero-Share Class Members (who will receive a direct payment of $100 each, as described
above). The pro rata calculation will be based upon the number of shares of AHI stock held in the
RSSOP for the benefit of Class Members as of the end of year 2000, regardless of whether those
shares were later sold. Altogether, there were approximately 96,000 shares of such AHI stock, which
results in a net settlement benefit of approximately $10.60 per AHI share. Thus, if the settlement
is approved and assuming the maximum deductions from the Settlement Fund are approved by the
Court, a Class Member with 100 shares will receive a benefit of about $1,060, and a Class Member
with 1,000 shares will receive about $10,600 in benefits.

        Class Counsel will rely on Retirement Committee records to determine the number of AWI
shares for allocation purposes. However, if records are available to Class Counsel from Ardex or
Armacell which show higher numbers of shares for some Class Members (generally due to automatic
payroll deductions during the transition period after separation of employment from AWI), the Class
Member will be credited with the higher number shares provided Class Counsel believes such
records to be reliable. Exhibit 1 shows the number of shares of AHI stock which will be used
to calculate your share of the Net RSSOP Fund. If you believe that number of shares is not
correct, you must notify Class Counsel of that fact in writing prior to Monday, June 6, 2003,
together with copies of any records you have to support your position, so that such question can be
resolved. In the absence of any such written objection, and documents to support such objection,
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Class Counsel may conclusively rely on the number of shares shown on Exhibit 1.

        The Net RSSOP Fund Will Be Initially Paid to RSSOP. The “Net RSSOP Fund” consists
of the AWI Payment, the Mellon Payment, and the balance of the Insurance Payment after deducting
the attorneys fees and other amounts described above. On the Turnover Date (see next section), the
Net RSSOP Fund will be paid into the RSSOP as “Restorative Payments,” and allocated among the
Match Accounts of each Class Member (except Zero-Share Class Members). Such funds will be
fully vested and shall be for such Class Member’s exclusive benefit.

        Within 30 days after the allocation, the Retirement Committee shall notify each Class
Member of the amount received and of his or her right to elect to take a distribution from the Match
Account in the form of a rollover into a tax qualified account or as a lump sum subject to taxes
and/or penalties, all in accordance with the standard rules and procedures set forth under the RSSOP
and applicable law; however, Class Members with account balances below $5,000 will be required
to take a distribution, either in the form of a rollover into a tax qualified account or as a lump sum
distribution that is subject to taxes and/or penalties. As a general matter, and subject to further
information that you will receive from the Retirement Committee, lump sum distributions are subject
to 20% federal withholding, and if not within 60 days rolled into a tax qualified account, are subject
to federal and possibly state income taxes, and for persons under the age of 59-1/2, an additional
10% penalty.

        Final Approval; Turnover Date. The Settlement Agreement will not become effective until
the Settlement Date, which is when a Final Order is entered by the Court, Bankruptcy Court
Approval has occurred, and such approvals become final by reason of no appeals being taken, or all
appeals being favorably resolved or withdrawn and all rights to further appeals have expired. The
“Turnover Date” means the date when the AWI, Insurance and Mellon Payments must be turned over
to the RSSOP (or to Class Counsel to the extent applicable), and shall mean the earlier of (1) five
business days after the effective date of AWI’s Plan of Reorganization (including any amended plan
of reorganization, if applicable), or (2) December 15, 2003, provided such turnover shall not occur
prior to five business after the Settlement Date.

        Releases. Upon occurrence of the Settlement Date and the complete turnover of the
Settlement Fund, all Class Members are deemed to release all Defendants, including their
predecessors, successors, future, past and present officers, directors, administrators, fiduciaries,
trustees, partners, employees, agents, attorneys, accountants, insurers, reinsurers, parents,
subsidiaries, affiliates and assigns and heirs of each of them, all in their capacities as such, and the
RSSOP and ESOP plans and the current and past fiduciaries of such plans, from any and all claims
which could have been asserted, have been asserted, or are now pending or arising in the future on
behalf of or for the benefit of any Plaintiff or Class Member arising out of the facts, matters and
occurrence upon which their claims in the Civil Actions are factually or legally related or based in
whole or in part, including but not limited to all claims arising from or related to the SIS and the
RSSOP and the participation of Class Members therein, whether such claims accrue under ERISA
or any other state or federal statute or common law, as well as all claims for attorneys’ fees and costs.
Among other things, the release has the effect of also releasing any and all claims that Class
Members should not have been excluded from receiving the ESOP Pension Account benefit provided
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to Armstrong’s active employees and retirees in November 2000.

        Notwithstanding the foregoing, the Settlement Agreement shall not limit Class Members
rights to enforce the Settlement Agreement and to obtain the benefit of their respective accounts in
the RSSOP. In addition, it is acknowledged that certain Class Members may have existing interests
in other AWI sponsored pension or benefit plans, and the Release shall not be construed to
extinguish, or limit, the ability of Class Members to enforce any such rights, including rights in
AWI’s Retirement Income Plan, as may be applicable, including without limitation claims against
any appropriate defendant. Nothing in the release shall be deemed to release or adversely affect any
claim for personal injuries that any Class Member has, may have, or may hereafter incur, or which
may hereafter manifest.

        The Armstrong Defendants and Mellon covenant and agree that they shall make no claims
against the Representative Plaintiffs, Class Members or their representatives, including their
attorneys, for litigation costs, expenses or attorneys fees relating in any manner to the Civil Actions
or the Chapter 11 Case, or arising out of any transaction or occurrence which are the subject of the
Civil Actions. The Defendants have also agreed to release each other from certain claims.

        Dispute Resolution. The Settlement Agreement, if approved by the Court, provides a
dispute resolution procedure. Also, all parties and Class Members are deemed to have consented
to having disputes under the settlement by a U.S. Magistrate Judge, if the Court so orders.

IV.    Reasons For The Settlement

         Class Counsel have vigorously pursued these Civil Actions. The Representative Plaintiffs
and Class Counsel, after taking into account the risks of possible litigation results and the likelihood
that this litigation, if not settled now, will be protracted and expensive, are satisfied that the terms
and conditions of the Settlement Agreement are fair, reasonable and adequate. The Settlement
Agreement has been entered into after arm's length negotiations with the Defendants and in good
faith, including an earlier attempt to mediate the dispute with the aid of a retired federal judge.

       The Defendants deny any and all liability to the Class. While denying any and all liability,
the Defendants nevertheless recognize that the results of further litigation are uncertain and, should
the Action proceed through trial and appeal, substantial and burdensome additional expense would
be incurred. In addition, the Civil Actions are a distraction to AWI's emergence from the Chapter
11 Case.

        Class Counsel warrant that, after full assessment of all of the facts and circumstances of the
Civil Actions, to the best of their knowledge, information and belief, the Settlement Agreement as
set forth herein represents fair, adequate and reasonable consideration for the Class Members’
claims.

V.     Your Rights As A Class Member

       A.      Appearances by Counsel. You may, at your own expense, enter an appearance in
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these proceedings by your own counsel. Otherwise, your interests are represented by the following
Court-designated Class Counsel:

               Richard A. Finberg, Esquire
               Malakoff Doyle & Finberg, P.C.
               Suite 200, The Frick Building
               Pittsburgh, PA 15222
               phone: (412) 281-8400 fax: (412) 281-3262        e-mail: rfinberg@mdfpc.com

       B.      The Fairness Hearing and Bankruptcy Court Hearing

        A court hearing (the “Fairness Hearing”) to determine whether the Settlement Agreement
should be approved as fair, reasonable and adequate to the Class, and to consider Class Counsel’s
request for attorneys fees, costs and expenses and incentive awards to the Representative Plaintiffs
will be held on Monday, June 16, 2003 at 9:30 A.M. before District Judge Anita B. Brody at the
United States Courthouse, Courtroom 7-B, Eastern District of Pennsylvania, 6th and Market Streets,
Philadelphia, PA. Class Counsel’s papers in support of the Settlement Agreement and other requests
will be on file with the Court by May 23, 2003.

       You are not required to attend, but are welcome to do so. If you have filed an objection, you
should attend at that time, in person or by counsel, to present such objection.

       The Delaware Bankruptcy Court per the Honorable Randall J. Newsome approved the
settlement on March 31, 2003.

       C.      If you are satisfied with the settlement, requests for attorneys fees and other
               provisions:

        If you are listed on Exhibit 1, you need not do anything to be included in the settlement and
will automatically receive its benefits if it is approved. However, if you filed a proof of claim
relating to the RSSOP in AWI’s Chapter 11 Case, you should return the Consent To Dismissal Of
Proof Of Claim form no later than June 6, 2003. In addition, if you dispute the number of AHI
shares listed for your account on Exhibit 1, you must object to Class Counsel in writing by such date,
or will be bound by Exhibit 1. If the address shown on your envelope is wrong, or if you expect to
be moving, please notify Class Counsel in writing.

       D.      If you are not satisfied by the terms of the settlement or request for attorneys
               fees, costs and expenses or incentive payments to Representative Plaintiffs:

       Any objections to the terms of the Settlement Agreement, the Plan of Distribution or the
requests for payment of attorneys fees, litigation, costs and expenses or incentive payments to the
Representative Plaintiffs, must be filed with the Court no later than June 6, 2003, as follows:

               Michael E. Kunz, Clerk
               United States District Court For the Eastern District of Pennsylvania
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               2609 U.S. Courthouse
               Independence Mall W
               601 Market St.
               Philadelphia, PA 19106-1797

       In addition, copies must be served on Class Counsel and Defendants’ counsel at the following
addresses:



                               Richard A. Finberg, Esquire
                               Malakoff Doyle & Finberg, P.C.
                               Suite 200, The Frick Building
                               Pittsburgh, PA 15222
                               (412) 281-8400
                               Class Counsel

       Kay Kyungsun Yu, Esquire                        Barry R. Elson, Esquire
       MORGAN, LEWIS & BOCKIUS LLP                     KITTREDGE, DONLEY, ELSON
       1701 Market Street                                FULLEM & EMBICK, LLP
       Philadelphia, PA 19103-2921                     421 Chestnut Street, Fifth Floor
                                                       Philadelphia, PA 19106
       Counsel For Armstrong Defendants                Counsel for Mellon Bank, N.A.

Please note -- Voting on AWI’s Plan of Reorganization, whether for or against, does not affect
the Court procedures described herein. Because of the Class Proof of Claim, it is presently
anticipated that Class Members (except for Zero-Share Class Members) will be given an opportunity
to vote on AWI’s proposed Plan of Reorganization (as may be amended). That vote is independent
of the Fairness Hearing; if you wish to object to the Settlement Agreement, you must follow the
procedures herein. Also, please note that the numbers of votes you are given in the bankruptcy
proceeding may be based on a different formula than will apply to distributing the benefits of this
settlement. If you have any questions regarding these procedures, please contact Class Counsel.

       Objections not post-marked by June 6, 2003 may not be considered by the Court.

       E.      Right To Examine Court Papers

        As noted, the above description of this Action and settlement are a summary only. The
complete Settlement Agreement and other Court filings are referred to other papers filed in this
Action, which are available for inspection by you or your attorney or other representatives during
regular office hours at the office of the Clerk of the Court at the address shown above. If there is any
inconsistency between this Notice and the Court filings, the Court filings will control. Copies of the
complete Settlement Agreement will be provided by Class Counsel, upon request.

PLEASE DO NOT CALL OR WRITE THE COURT DIRECTLY. IF YOU HAVE ANY
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QUESTIONS, PLEASE CONTACT CLASS COUNSEL AT THE ABOVE ADDRESS.

                              /s/ Michael E. Kunz, Clerk of Court
                              By Order of the United States District Court for the
                              Eastern District of Pennsylvania

Dated: April 22, 2003
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                         EXHIBIT 1 - CLASS MEMBERS AND SHARES IN THE RSSOP

                      (As a Class Member, you are automatically included in the Settlement)

Installation Products Group (IPG)            Shares of Armstrong Stock in RSSOP

Alvarez, Enrique - 409.899 Shares            Hanners, David R. - 8.500 Shares         Pugh, Fay S. - 102.908 Shares
Ankomah, Mercy - 17.474 Shares               Harper, Hansel W. - 1,730.222 Shares     Ramos, Israel - 44.507 Shares
Ashline, Donald - 180.095 Shares             Harvey, Richard - 672.095 Shares         Randall, Gregory - 35.511 Shares
Beck, Danny E. - 273.914 Shares              Hernandez, Israel - 162.133 Shares       Randazzo, John - 590.527 Shares
Blanchette, Timothy J. - 250.612 Shares      Hertz, William D. - 154.730 Shares       Randolph, William - 286.965 Shares
Bolin, Virgil Keith - 691.527 Shares         Hines, Kristina - 133.885 Shares         Rinesmith, Eric - 62.584 Shares
Bowles, Robert E. - 17.473 Shares            Hisel, Duane Dean - 8.500 Shares         Ringo, Leesther - 22.726 Shares
Brewer, Christopher - 128.837 Shares         Holmes, Phillip A. - 211.130 Shares      Roath, Diane - 8.500 Shares
Brown, Danny V. - 297.490 Shares             Hunt, Nancy E. - 107.692 Shares          Roland, Kenton N. - 208.384 Shares
Builta, Amy - 38.532 Shares                  Hutyra, Mathew H. - 8.500 Shares         Ross, Diane - 122.968 Shares
Burton, Danny - 89.938 Shares                Iseah, Edwin - 8.500 Shares              Savoie, Kevin - 419.638 Shares
Cain, Denman - 8.500 Shares                  Jefferies, Charles M. - 35.510 Shares    Scott, Amman - 8.500 Shares
Cantu, Frank - 106.603 Shares                Jerski, Gerald - 8.500 Shares            Scott, Richard E. - 280.603 Shares
Cardenas-Orosco, Sergio - 223.554 Shares     Johnson, Aaron W. - 126.540 Shares       Seavers, Marshall R. - 737.726 Shares
Cardenas-Orosco, Miguel - 62.585 Shares      Johnson, Dennis Allen - 348.548 Shares   Sessions, Elroy R. - 62.585 Shares
Cardwell, William - 635.548 Shares           Jones, Joseph N. - 62.585 Shares         Shearer, Lori Jo L. - 788.659 Shares
Carroll, Larry S. - 365.976 Shares           Jones, Julia - 8.500 Shares              Silsbee, Brian A. - 247.921 Shares
Carroll, Nick - 8.500 Shares                 Juncal, Ronald M. - 1,206.629 Shares     Slaughter, Lathan E. - 17.474 Shares
Carroll, Steven J. - 197.234 Shares          Karraker, Timothy L. - 8.500 Shares      Small, James Brian - 316.098 Shares
Conner, Barry R. - 124.232 Shares            Kella, John Richard - 972.393 Shares     Smith, David - 317.541 Shares
Conner, Robert L. - 308.096 Shares           Kelly, Patrick W. - 8.500 Shares         Smith, Floyd T. - 239.891 Shares
Crouch, W. Michael - 1,921.749 Shares        Killcrease, Renita A. - 53.605 Shares    Talbert, Jeremy F. - 59.476 Shares
Davis, Eric - 30.159 Shares                  King, Donna Ruth - 269.631 Shares        Teran, Florencio - 62.584 Shares
Dekoster, David M. - 8.500 Shares            Kirchner, Julia A. - 602.267 Shares      Thomas, Jr., Rudolph - 62.321 Shares
Delagarza, Ralph - 62.587 Shares             Kopsell, Andrea F. - 53.606 Shares       Thompson, Robert E. - 53.606 Shares
Denault, Kimi L. - 43.094 Shares             Kowalski, Gerald - 523.811 Shares        Thoulion, Walter - 8.500 Shares
Derr, Tina - 929.870 Shares                  Lane, James - 424.965 Shares             Thelkeld, Thomas - 308.324 Shares
Dodson, Jess A. - 220.346 Shares             Litton, Mark D. - 1,699.588 Shares       Valle, Mario L. - 166.875 Shares
Duque, Johnnie - 62.586 Shares               Lu, Lida - 1,360.232 Shares              Vela, Avelino - 147.167 Shares
Eagle, Brent W. - 53.603 Shares              Maldonado, Samuel - 26.418 Shares        Wagner, Jr., Wilbur O. - 411.194 Shares
Edwards, Arthur - 17.474 Shares              Malkowski, James - 710.706 Shares        Wayne, Dennis - 1,083.097 Shares
Eshleman, James Michael - 1,046.901 Shares   Mares, Johnny J. - 231.375 Shares        Welch, Roger - 81.837 Shares
Estrada, Daniel - 330.943 Shares             Mares, Rubin A. - 37.231 Shares          Weldon, Gary - 35.511 Shares
Evans, Don E. - 249.082 Shares               Markley, Dean - 1,188.609 Shares         Wenger, Chad - 80.971 Shares
Fastow, Robert P. - 384.765 Shares           Mason, James M. - 170.901 Shares         White, Jessie M. - 8.500 Shares
Fernandez, Luis - 62.584 Shares              Masterson, James J. - 1,837.138 Shares   Wicherek, David V. - 258.244 Shares
Flemister, Larry - 17.474 Shares             McGee, Charles - 313.925 Shares          Wilkes, Baron - 48.404 Shares
Flores, Suzanne - 8.500 Shares               Millhouse, Larry L. - 415.624 Shares     Williams, George - 378.705 Shares
Gagnon, Rachel - 53.605 Shares               Mizell, Robert - 109.422 Shares          Woldemariam, Evangeline R. - 545.262 Shares
Gall, Brock J. - 162.147 Shares              Moncrief, Lee - 209.470 Shares           Wolski, Michael C. - 129.719 Shares
Garcia, Jose - 385.252 Shares                Montelongo, Osvaldo - 26.418 Shares      Worthington, Deborah - 284.185 Shares
Gennie, Elijah - 109.140 Shares              Morrison, Roy - 8.500 Shares             Zalac, Robert - 8.500 Shares
Godina, Nicolas - 408.132 Shares             Morse, Charlene A. - 53.605 Shares
Gomez, Armando - 323.862 Shares              Moye, Chester L. - 118.927 Shares
Gomez, Filiberto - 62.584 Shares             Munoz, Mariano - 17.474 Shares
Gomez, Jose M. - 93.718 Shares               Naas, Larry - 404.702 Shares
Gonzalez, Juan M. - 8.500 Shares             Oqueli, Marco A. - 332.294 Shares
Graham, Terry - 819.606 Shares               Ortiz, Gilberto - 8.500 Shares
Gravely, Johnny W. - 44.505 Shares           Ott, W. - 456.914 Shares
Greenwood, John W. - 350.644 Shares          Pampuch, Shane J. - 53.607 Shares
Griffin, Ray A. - 328.194 Shares             Perales, Erasmo - 146.064 Shares
Gross, Alfreda B. - 274.672 Shares           Pierce, Glenna Ann - 452.803 Shares
Haas, Damien C. - 62.584 Shares              Pijar, Michael - 2,042.811 Shares
                      Case 2:01-cv-04413-AB Document 37 Filed 05/27/03 Page 16 of 31




Armstrong Insulation Products (AIP)                         Shares of Armstrong Stock in RSSOP

Alarcon, Julia - 445.898 Shares         Fahsel, Michael - 1350.414 Shares       Lea, Sequiency - 17.475 Shares          Stanfield, Delaney - 17.474 Shares
Alexander, Brian - 71.084 Shares        Farrow, Rudolph - 136.176 Shares        Lloyd, Barry - 365.083 Shares           Stanton, Robert - 53.606 Shares
Alexander, Thomas - 8.500 Shares        Farst, Troy - 1095.941 Shares           Long, Dexter - 8.974 Shares             Stevens, Lee - 1364.713 Shares
Althouse, Bruce - 1412.342 Shares       Faucette, Jack - 103.415 Shares         Long, Linda - 71.673 Shares             Stokes, Douglas - 35.510 Shares
Amin, Sneha - 63.174 Shares             Faucette, Robyn Lynn - 17.474 Shares    Long, Tony - 62.584 Shares              Stokes, Johnny - 8.500 Shares
Andrews, Donnie - 102.585 Shares        Faulkner, Landie - 427.246 Shares       Looman, Richard - 283.903 Shares        Sumner, L. - 94.346 Shares
Andrews, Glynda - 903.241 Shares        Findlay, Dexter - 250.578 Shares        Loy, Monica - 71.672 Shares             Sykes, Jolynn - 62.584 Shares
Arroyo, Paul - 35.510 Shares            Findlay, Paul - 211.029 Shares          MacDougall, Malcolm - 1247.808 Shares   Thedford, Donna - 867.813 Shares
Austin, Nick - 71.671 Shares            Fitzgerald, James - 71.672 Shares       MacMillan Jr, Donald - 379.126 Shares   Thomas, James - 35.509 Shares
Autry, Elizabeth - 71.672 Shares        Flores, Rafael - 8.500 Shares           Mahaffey, Jason - 71.673 Shares         Thompson, Billy - 478.567 Shares
Barger, Samuel - 181.555 Shares         Fuller, Jason - 302.806 Shares          Manning, Vickie - 35.510 Shares         Tilson, Robert - 222.465 Shares
Barrett, Michael - 372.572 Shares       Gale, Christopher - 833.996 Shares      Mars Jr., James - 2241.090 Shares       Trollinger, Lashonda-71.673 Shares
Barrett, Stephen - 1262.940 Shares      Garcia, Marcos - 17.474 Shares          Martinez, Filadelfo - 35.510 Shares     Turner, Alvorn - 26.418 Shares
Beane, Tammy - 248.476 Shares           Garner, Edward - 71.674 Shares          Maxwell, Kim - 71.672 Shares            Turner, Horace - 368.485 Shares
Bearking, Richard - 263.518 Shares      Garrett, Linda - 41.808 Shares          McGehee, Gregory - 110.874 Shares       Tyree, Kristan - 85.196 Shares
Bigelow, Gwendolyn - 53.605 Shares      Gattis, Timothy - 239.983 Shares        Mebane, Shannon - 17.474 Shares         Vaught, Sherri - 17.474 Shares
Blackburn, Michael W. - 17.475 Shares   Gilliam, Victor - 382.694 Shares        Mege, Jody - 35.511 Shares              Villagomez, Jose - 17.475 Shares
Bostic, Jeffrey - 426.881 Shares        Gonzalez, Jorge - 27.009 Shares         Miles, Cynthia - 44.504 Shares          Vise, Clayton - 399.115 Shares
Bowman, Freddie - 812.787 Shares        Grantham, Jason - 26.419 Shares         Millard, Kimberly - 140.558 Shares      Wall, Jason - 101.838 Shares
Bowman, William - 99.480 Shares         Graves, Stanley - 17.474 Shares         Moon, Donald - 32.082 Shares            Walter, John - 1249.434 Shares
Bradley, Alma - 26.419 Shares           Greer, Alan - 35.509 Shares             Moore, Charles - 44.506 Shares          Warren, Milton - 269.279 Shares
Bradsher, Derwin - 17.474 Shares        Gutlierrez, Balbino - 35.509 Shares     Moore, Eric - 17.474 Shares             Watters, Chris - 71.673 Shares
Bray, Kerri - 26.418 Shares             Harrington, Lisa - 56.253 Shares        Moreno, Johnny - 8.500 Shares           Webster, Beverly - 220.258 Shares
Breeze, Thermon - 71.672 Shares         Harris Jr., Thomas - 199.243 Shares     Murr, Jeffrey - 183.348 Shares          Wentz, George - 1170.634 Shares
Brenner, Jeffrey - 71.671 Shares        Hayes, Mark - 831.126 Shares            Musick, Adam - 62.585 Shares            Wilcox, Timothy - 53.603 Shares
Brooks, Paul D. - 17.474 Shares         Heintzelman, Michael - 817.374 Shares   Nickerson, Jennifer - 62.586 Shares     Williams, Donna - 202.194 Shares
Burnette, George - 129.219 Shares       Henry, Michael - 257.579 Shares         Niles, Michael - 459.599 Shares         Williams, Kevin - 188.473 Shares
Burton, Dennis -165.208 Shares          Henson, Eric - 176.817 Shares           Norwood, Keith - 17.474 Shares          Woodall, Rodney J. - 17.474 Shares
Busbin, Randy - 186.212 Shares          Hightower, Rhonda - 174.270 Shares      Oakes, Dewey - 17.474 Shares            Workman, Tammy - 35.510 Shares
Butler, Nannette - 421.434 Shares       Hightower, Sharon - 117.264 Shares      Oberle, William - 357.050 Shares        Wright, Richard - 213.458 Shares
Byrd, Preston - 456.227 Shares          Hockreiter, Jane - 144.738 Shares       O’Neill Jr., James - 100.282 Shares     Wright, Rosemary - 761.568 Shares
Cameron, Rodney - 35.510 Shares         Hodnett, Charles - 53.606 Shares        Pace, Matthew - 278.363 Shares          Yakbowski, John - 1211.159 Shares
Carden, Kenneth - 328.631 Shares        Hodnett, Gaylia - 35.510 Shares         Pace, Robert - 365.283 Shares           Yellock, Rochelle - 8.500 Shares
Carnes, Heidi - 373.775 Shares          Holman, Joann - 71.673 Shares           Palacios, Bernardo - 17.474 Shares
Carpenter, Amy - 71.675 Shares          Hopkins, Gary - 26.418 Shares           Parker, Koronda - 56.621 Shares
Carson, Elijah - 17.474 Shares          Houghton, Brian - 613.844 Shares        Parsons, Theresa - 17.474 Shares
Carter III, Lawrence - 44.509 Shares    Huffines, Shawn - 71.672 Shares         Paul, Travis - 71.674 Shares
Carter, Stehanie - 288.580 Shares       Hulsey, David - 23.062 Shares           Paylor, Jason - 35.511 Shares           Additional persons
Castillo, Pedro - 8.500 Shares          Humphries, Eric - 44.506 Shares         Pettiford, Angela - 113.446 Shares      with 0.00 Shares
Chacon, Adolfo - 18.034 Shares          Hunter, Angela - 62.584 Shares          Pettiford, Michael - 35.510 Shares
Chambers, Herbert - 71.671 Shares       Hyde, Christian - 48.985 Shares         Pirkle, Thomas - 71.672 Shares          Evans, Francois
Clayton, Anthony - 71.672 Shares        Hylton, Denzil - 150.474 Shares         Poe, Sabrina - 156.201 Shares           Hall IV, James
Coleman, Teddy - 35.510 Shares          Jablonski, Chester - 373.658 Shares     Polito, David - 593.120 Shares          Miller, Cora
Cooper, Glenn - 661.078 Shares          Jackson, Tyrone - 62.585 Shares         Rakfeldt, Bruce - 71.673 Shares         Tinnin, Craig
Core, Ronice - 35.121 Shares            Jeffries, Angela - 8.500 Shares         Ramirez, Gerber - 26.418 Shares
Costello, Dennis - 487.659 Shares       Johann, Holger - 1335.946 Shares        Reives, Brent - 17.475 Shares
Cotton, Ronald J. - 17.474 Shares       Johnson, Stephen - 455.882 Shares       Resetar, Michael - 1222.273 Shares
Crandall, Bonnie - 134.649 Shares       Jones, John - 99.756 Shares             Robinson, Chris - 94.276 Shares
Crenshaw, Frederick- 240.907 Shares     Jones, Michael - 44.506 Shares          Roman, Antelmo - 36.006 Shares
Crisp, Cardell - 103.121 Shares         Jones, Perry - 123.736 Shares           Rushing, Robert - 147.811 Shares
Dale, Barbara - 279.102 Shares          Jones, Philip - 39.288 Shares           Sahd, Deborah - 290.726 Shares
Davis, Amy C. - 17.474 Shares           Joyce, Jerry - 71.672 Shares            Sands, Lisa - 264.334 Shares
Davis, Christopher - 135.914 Shares     Kernodle, John - 399.078 Shares         Sangal, Gorav - 532.806 Shares
Davis, Lorenzi(o) - 26.418 Shares       Kilgore, Billy - 250.252 Shares         Scoggins, Randy - 526.734 Shares
Davis, Stephen - 913.012 Shares         King Jr., Earl - 436.770 Shares         Scott, Kathy - 252.210 Shares
Davis, Sylvester - 8.500 Shares         King, Robert - 960.597 Shares           Serracin, Victor - 26.418 Shares
Daye, Ray - 333.726 Shares              Kirby, Amie - 144.197 Shares            Shaw, Eulise - 8.500 Shares
Denijs, Paul - 280.239 Shares           Kraus, Daxter - 8.500 Shares            Sheffield, Ava - 315.702 Shares
Diaz, Heriberto - 17.474 Shares         Lamarre, Mark - 288.897 Shares          Shrader, Michael - 8.500 Shares
Dizel, Robert - 288.601 Shares          Lambert, Tammy Jo - 93.353 Shares       Smith, Eloise - 71.672 Shares
Doby, Sandra - 213.188 Shares           Lattie, Antonio - 75.325 Shares         Smothers, William - 300.814 Shares
Douglas, David - 140.133 Shares         Lattie, Gerald - 233.535 Shares         Snipes, Jerry - 8.500 Shares
Downey, Charles - 292.959 Shares        Lawson, Charles - 114.386 Shares        Songster, Dawn - 26.418 Shares
Duncan, Mark - 1127.182 Shares          Lawson, Michael - 8.500 Shares          Southern Michael - 27.333 Shares
Dycus, Cheryl - 8.500 Shares            Lawson, Terry - 71.674 Shares           Stamatis, Sam - 459.282 Shares
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                    EXHIBIT B
         Case 2:01-cv-04413-AB Document 37 Filed 05/27/03 Page 18 of 31




                 IN THE UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF DELAWARE
________________________________________________
                                                 :
In re: ARMSTRONG WORLD INDUSTRIES, INC.,         : Case No. 00-4471 (JJF)
                                                 :
                                    Debtor.      : Chapter 11
________________________________________________:

                         SUPPLEMENTAL NOTICE
        OF DISMISSAL OF BANKRUPTCY INDIVIDUAL PROOFS OF CLAIM
                           RELATING TO RSSOP

     IMPORTANT – Notice of dismissal of certain related Bankruptcy Proofs of Claim

         As part of the Settlement Agreement, any Individual Proofs of Claim filed by
  Class Members in AWI’s Chapter 11 Case, and which are related to the RSSOP, will
  also be dismissed without any additional payment.

          This Supplemental Notice identifies Individual Proof of Claim filed by you. If you
  have filed a proof of claim relating to the RSSOP, you must follow the steps below by [class
  objection date]

          If the information on the Supplemental Notice about your proofs of claim is not
  accurate, you also must take action, as described below, by [same date]. Otherwise, any
  rights you may have respecting such claim will be lost.


               If the class action Settlement Agreement in the Markley and Shearer cases is
approved by the District Court and the Bankruptcy Court, all individual proofs of claim of Class
Members which relate to the RSSOP (including the SIS) will be extinguished and dismissed without
further notice or Order of the Bankruptcy Court. If you have also filed other proofs of claim in
the AWI Bankruptcy, not related to the RSSOP (such as, claims for Special Incentive Bonuses), such
other claim is not affected by the class action Settlement Agreement, and is subject to further
processing.

               What You Must Do: If you filed a proof of claim in the AWI Chapter 11 Case,
you should do the following:

       1.      If you have not filed a claim in the AWI Chapter 11 Case, no action is required.

       2.      If you filed a claim relating to the RSSOP, and the information below is accurate,
               you should promptly sign the enclosed Consent To Dismissal of Proof of Claim and
               mail it to Class Counsel only , to be received no later than [Class Action objection
               date]. Such claim will be automatically dismissed if the Class Action Settlement
           Case 2:01-cv-04413-AB Document 37 Filed 05/27/03 Page 19 of 31




               Agreement receives all necessary Court and Bankruptcy Court approvals and such
               approvals become final.

       3       If the information shown below is not accurate for any reason (e.g., (1) because
               you filed a proof of claim in AWI Chapter 11 Case related to the RSSOP plan, but
               the proof of claim not listed, or (2) because the listed below is not a RSSOP claim),
               you must notify Class Counsel and Counsel for Armstrong (both listed below)
               by [class objection date] so that such claim can be properly processed. Please note
               that all claims related to the RSSOP will be dismissed if the class action Settlement
               Agreement receives all necessary approvals, and any individual proof of claim that
               relates to the RSSOP will not be paid even if it is not identified below.

Contact information:

       Richard A. Finberg, Esq.                      Kenneth L. Jacobs, Esq.
       Malakoff Doyle & Finberg, P.C.                Armstrong World Industries, Inc.
       Suite 200, The Frick Building                 P. O. Box 3001
       Pittsburgh, PA 15219                          Lancaster, PA 17604
       (412) 281-8400 (phone)                        Attorney for Armstrong World
       (412) 281-3262 (fax)                          Industries, Inc.
       Class Counsel
(Consent forms, or to correct                        (To correct claim information only)
  Claim information)

_____________________________________________________________________________

                        YOUR PROOF OF CLAIM INFORMATION:

Name ______________________                  Individual Proof of Claim No. None
                                                 [Fill in “None,” if applicable]

“No action by you is necessary.”
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                    EXHIBIT C
         Case 2:01-cv-04413-AB Document 37 Filed 05/27/03 Page 21 of 31




                 IN THE UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF DELAWARE
________________________________________________
                                                 :
In re: ARMSTRONG WORLD INDUSTRIES, INC.,         : Case No. 00-4471 (JJF)
                                                 :
                                    Debtor.      : Chapter 11
________________________________________________:

                         SUPPLEMENTAL NOTICE
        OF DISMISSAL OF BANKRUPTCY INDIVIDUAL PROOFS OF CLAIM
                           RELATING TO RSSOP

     IMPORTANT – Notice of dismissal of certain related Bankruptcy Proofs of Claim

         As part of the Settlement Agreement, any Individual Proofs of Claim filed by
  Class Members in AWI’s Chapter 11 Case, and which are related to the RSSOP, will
  also be dismissed without any additional payment.

          This Supplemental Notice identifies Individual Proof of Claim filed by you. If you
  have filed a proof of claim relating to the RSSOP, you must follow the steps below by [class
  objection date]

          If the information on the Supplemental Notice about your proofs of claim is not
  accurate, you also must take action, as described below, by [same date]. Otherwise, any
  rights you may have respecting such claim will be lost.


               If the class action Settlement Agreement in the Markley and Shearer cases is
approved by the District Court and the Bankruptcy Court, all individual proofs of claim of Class
Members which relate to the RSSOP (including the SIS) will be extinguished and dismissed without
further notice or Order of the Bankruptcy Court. If you have also filed other proofs of claim in
the AWI Bankruptcy, not related to the RSSOP (such as, claims for Special Incentive Bonuses), such
other claim is not affected by the class action Settlement Agreement, and is subject to further
processing.

               What You Must Do: If you filed a proof of claim in the AWI Chapter 11 Case,
you should do the following:

       1.      If you have not filed a claim in the AWI Chapter 11 Case, no action is required.

       2.      If you filed a claim relating to the RSSOP, and the information below is accurate,
               you should promptly sign the enclosed Consent To Dismissal of Proof of Claim and
               mail it to Class Counsel only , to be received no later than [Class Action objection
               date]. Such claim will be automatically dismissed if the Class Action Settlement
          Case 2:01-cv-04413-AB Document 37 Filed 05/27/03 Page 22 of 31




              Agreement receives all necessary Court and Bankruptcy Court approvals and such
              approvals become final.

      3       If the information shown below is not accurate for any reason (e.g., (1) because
              you filed a proof of claim in AWI Chapter 11 Case related to the RSSOP plan, but
              the proof of claim not listed, or (2) because the listed below is not a RSSOP claim),
              you must notify Class Counsel and Counsel for Armstrong (both listed below)
              by [class objection date] so that such claim can be properly processed. Please note
              that all claims related to the RSSOP will be dismissed if the class action Settlement
              Agreement receives all necessary approvals, and any individual proof of claim that
              relates to the RSSOP will not be paid even if it is not identified below.

Contact information:

       Richard A. Finberg, Esq.                     Kenneth L. Jacobs, Esq.
       Malakoff Doyle & Finberg, P.C.               Armstrong World Industries, Inc.
       Suite 200, The Frick Building                P. O. Box 3001
       Pittsburgh, PA 15219                         Lancaster, PA 17604
       (412) 281-8400 (phone)                       Attorney for Armstrong World
       (412) 281-3262 (fax)                         Industries, Inc.
       Class Counsel
(Consent forms, or to correct                       (To correct claim information only)
  Claim information)

_____________________________________________________________________________

                       YOUR PROOF OF CLAIM INFORMATION:

Name ______________________                 Individual Proof of Claim No. 0000
                                                [Fill in “None,” if applicable]

              This Proof of Claim relates to the RSSOP -- this claim will be disallowed and
extinguished by the Settlement Agreement.

      Please sign and return the enclosed ‘Consent To Dismissal of Proof
      of Claim’ form.”
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                    EXHIBIT D
         Case 2:01-cv-04413-AB Document 37 Filed 05/27/03 Page 24 of 31




                 IN THE UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF DELAWARE
________________________________________________
                                                 :
In re: ARMSTRONG WORLD INDUSTRIES, INC.,         : Case No. 00-4471 (JJF)
                                                 :
                                    Debtor.      : Chapter 11
________________________________________________:

                         SUPPLEMENTAL NOTICE
        OF DISMISSAL OF BANKRUPTCY INDIVIDUAL PROOFS OF CLAIM
                           RELATING TO RSSOP

     IMPORTANT – Notice of dismissal of certain related Bankruptcy Proofs of Claim

         As part of the Settlement Agreement, any Individual Proofs of Claim filed by
  Class Members in AWI’s Chapter 11 Case, and which are related to the RSSOP, will
  also be dismissed without any additional payment.

          This Supplemental Notice identifies Individual Proof of Claim filed by you. If you
  have filed a proof of claim relating to the RSSOP, you must follow the steps below by [class
  objection date]

          If the information on the Supplemental Notice about your proofs of claim is not
  accurate, you also must take action, as described below, by [same date]. Otherwise, any
  rights you may have respecting such claim will be lost.


               If the class action Settlement Agreement in the Markley and Shearer cases is
approved by the District Court and the Bankruptcy Court, all individual proofs of claim of Class
Members which relate to the RSSOP (including the SIS) will be extinguished and dismissed without
further notice or Order of the Bankruptcy Court. If you have also filed other proofs of claim in
the AWI Bankruptcy, not related to the RSSOP (such as, claims for Special Incentive Bonuses), such
other claim is not affected by the class action Settlement Agreement, and is subject to further
processing.

               What You Must Do: If you filed a proof of claim in the AWI Chapter 11 Case,
you should do the following:

       1.      If you have not filed a claim in the AWI Chapter 11 Case, no action is required.

       2.      If you filed a claim relating to the RSSOP, and the information below is accurate,
               you should promptly sign the enclosed Consent To Dismissal of Proof of Claim and
               mail it to Class Counsel only , to be received no later than [Class Action objection
               date]. Such claim will be automatically dismissed if the Class Action Settlement
          Case 2:01-cv-04413-AB Document 37 Filed 05/27/03 Page 25 of 31




              Agreement receives all necessary Court and Bankruptcy Court approvals and such
              approvals become final.

      3       If the information shown below is not accurate for any reason (e.g., (1) because
              you filed a proof of claim in AWI Chapter 11 Case related to the RSSOP plan, but
              the proof of claim not listed, or (2) because the listed below is not a RSSOP claim),
              you must notify Class Counsel and Counsel for Armstrong (both listed below)
              by [class objection date] so that such claim can be properly processed. Please note
              that all claims related to the RSSOP will be dismissed if the class action Settlement
              Agreement receives all necessary approvals, and any individual proof of claim that
              relates to the RSSOP will not be paid even if it is not identified below.

Contact information:

       Richard A. Finberg, Esq.                     Kenneth L. Jacobs, Esq.
       Malakoff Doyle & Finberg, P.C.               Armstrong World Industries, Inc.
       Suite 200, The Frick Building                P. O. Box 3001
       Pittsburgh, PA 15219                         Lancaster, PA 17604
       (412) 281-8400 (phone)                       Attorney for Armstrong World
       (412) 281-3262 (fax)                         Industries, Inc.
       Class Counsel
(Consent forms, or to correct                       (To correct claim information only)
  Claim information)

_____________________________________________________________________________

                       YOUR PROOF OF CLAIM INFORMATION:

Name ______________________                 Individual Proof of Claim No. None
                                                [Fill in “None,” if applicable]

           This Proof of Claim relates to the RSSOP – this claim will be
disallowed and extinguished by the Settlement Agreement.

      Please sign and return the enclosed ‘Consent To Dismissal of
      Proof of Claim’ form.

           You have also filed a claim for Special Incentive Bonus (Claim No.
0000). This Proof of Claim is not related to the RSSOP, and will be separately
processed.
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                    EXHIBIT E
         Case 2:01-cv-04413-AB Document 37 Filed 05/27/03 Page 27 of 31




                 IN THE UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF DELAWARE
________________________________________________
                                                 :
In re: ARMSTRONG WORLD INDUSTRIES, INC.,         : Case No. 00-4471 (JJF)
                                                 :
                                    Debtor.      : Chapter 11
________________________________________________:

                         SUPPLEMENTAL NOTICE
        OF DISMISSAL OF BANKRUPTCY INDIVIDUAL PROOFS OF CLAIM
                           RELATING TO RSSOP

     IMPORTANT – Notice of dismissal of certain related Bankruptcy Proofs of Claim

         As part of the Settlement Agreement, any Individual Proofs of Claim filed by
  Class Members in AWI’s Chapter 11 Case, and which are related to the RSSOP, will
  also be dismissed without any additional payment.

          This Supplemental Notice identifies Individual Proof of Claim filed by you. If you
  have filed a proof of claim relating to the RSSOP, you must follow the steps below by [class
  objection date]

          If the information on the Supplemental Notice about your proofs of claim is not
  accurate, you also must take action, as described below, by [same date]. Otherwise, any
  rights you may have respecting such claim will be lost.


               If the class action Settlement Agreement in the Markley and Shearer cases is
approved by the District Court and the Bankruptcy Court, all individual proofs of claim of Class
Members which relate to the RSSOP (including the SIS) will be extinguished and dismissed without
further notice or Order of the Bankruptcy Court. If you have also filed other proofs of claim in
the AWI Bankruptcy, not related to the RSSOP (such as, claims for Special Incentive Bonuses), such
other claim is not affected by the class action Settlement Agreement, and is subject to further
processing.

               What You Must Do: If you filed a proof of claim in the AWI Chapter 11 Case, you
should do the following:

       1.      If you have not filed a claim in the AWI Chapter 11 Case, no action is required.

       2.      If you filed a claim relating to the RSSOP, and the information below is accurate,
               you should promptly sign the enclosed Consent To Dismissal of Proof of Claim and
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              mail it to Class Counsel only , to be received no later than [Class Action objection
              date]. Such claim will be automatically dismissed if the Class Action Settlement
              Agreement receives all necessary Court and Bankruptcy Court approvals and such
              approvals become final.

      3       If the information shown below is not accurate for any reason (e.g., (1) because
              you filed a proof of claim in AWI Chapter 11 Case related to the RSSOP plan, but
              the proof of claim not listed, or (2) because the listed below is not a RSSOP claim),
              you must notify Class Counsel and Counsel for Armstrong (both listed below)
              by [class objection date] so that such claim can be properly processed. Please note
              that all claims related to the RSSOP will be dismissed if the class action Settlement
              Agreement receives all necessary approvals, and any individual proof of claim that
              relates to the RSSOP will not be paid even if it is not identified below.

Contact information:

       Richard A. Finberg, Esq.                     Kenneth L. Jacobs, Esq.
       Malakoff Doyle & Finberg, P.C.               Armstrong World Industries, Inc.
       Suite 200, The Frick Building                P. O. Box 3001
       Pittsburgh, PA 15219                         Lancaster, PA 17604
       (412) 281-8400 (phone)                       Attorney for Armstrong World
       (412) 281-3262 (fax)                         Industries, Inc.
       Class Counsel
(Consent forms, or to correct                       (To correct claim information only)
  Claim information)

_____________________________________________________________________________

                       YOUR PROOF OF CLAIM INFORMATION:

Name ______________________                 Individual Proof of Claim No. None
                                                [Fill in “None,” if applicable]

              No action by you is necessary.

           You have also filed a claim for Special Incentive Bonus (Claim No.
2892). This Proof of Claim is not related to the RSSOP, and will be separately
processed.
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                    EXHIBIT F
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                 IN THE UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF DELAWARE
________________________________________________
                                                 :
In re: ARMSTRONG WORLD INDUSTRIES, INC.,         : Case No. 00-4471 (JJF)
                                                 :
                                    Debtor.      : Chapter 11
________________________________________________:

                       CONSENT TO DISMISSAL OF INDIVIDUAL
                        PROOF OF CLAIM RELATING TO RSSOP


               I, W. Michael Crouch        , am a Class Member in lawsuits known as Markley, et

al. v. Retirement Committee of Armstrong World Industries, Inc., et al. (Civil Action No. 01-CV-

4413 (E.D. Pa.)) and Shearer et al. v. Retirement Committee of Armstrong World Industries, Inc.,

et al. (Civil Action No. 02-CV-6029 (E.D. Pa.)) (the “Civil Actions”). I previously filed an

individual proof of claim in the Armstrong World Industries, Inc. Bankruptcy case (Claim No. 3124)

relating to losses in my RRSOP account. I also understand that Class Counsel has filed a Second

Amended Class Proof of Claim which also relates to the RSSOP (although that Class claim is for

a different amount). I further understand that under a proposed Stipulation and Agreement To Settle

And Dismiss Plaintiff’s Claims, filed in the Civil Actions, the Second Amended Class Proof of

Claim will be paid to the extent provided in the Stipulation and Settlement, and from which I will

benefit. Therefore, I hereby consent to the dismissal of my individual proof of claim which is

identified above.

                                             Signed: _____________________________

                                             Dated:                       , 2003
